


  PER CURIAM.
 

  DISMISSED.
  
   See Quarterman v. McNeil,
  
  1 So.3d 392, 393 (Fla. 1st DCA 2009) (noting that had the order on appeal been a final order the motion for rehearing would have delayed rendition);
  
   Dep’t of Revenue ex rel. Chambers v. Travis,
  
  971 So.2d 157, 159 n. 2 (Fla. 1st DCA 2007) (noting Florida Rule of Appellate Procedure 9.020(h) provides that certain motions delay rendition of any
  
   final
  
  orders).
 

  BENTON, LEWIS, and CLARK, JJ„ concur.
 
